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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )
 V.                                                  )
                                                     )
 TERRY LORENZO GRANT                                 )
                                                     ) Indictment No. CR 116-45
 DARREN DEVALE TOWNSEND, JR.                         )
 aka “DOLLAR”                                        )
                                                     )
 CHRISTOPHER SHELTON HUNTER                          )
 aka “STANK”                                         )
                                                     )
 BENNELLE EVANS                                      )
                                                     )


                                    UNSEALING ORDER

      Upon application of the United States Attorney, by and through, Patricia Green Rhodes,

Assistant United States Attorney, the Motion to Unseal Indictment and penalty certification filed

in the above-referenced case is hereby GRANTED.

        SO ORDERED this 12th day of October, 2016, at Augusta, Georgia.
